    Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 1 of 154 PageID #:495




                             IN THE UNITED STATES DISTRICT COURT
                              THE NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

CENTRUST BANK, N.A.,                                       )
                                                           )
                Plaintiff,                                 )       Case No. 21-cv-2576
                                                           )
        v.                                                 )       Case No. 21-cv-2702
                                                           )
RUBEN YBARRA, et al.,                                      )       Judge Sara L. Ellis
                                                           )
                Defendants.                                )

PUTATIVE “JOINT” DISCOVERY MOTION RE: CENTRUST’S DISCOVERY REQUESTS

        Plaintiff, Centrust Bank, N.A. (“Centrust” or the “Bank”), and Defendants, Ruben Ybarra

(“Ybarra”), YRY Holdings, LLC (“YRY”), and Boulder Hill Apartments, LLC (“BHA”), for their

joint discovery motion regarding Centrust’s discovery requests (the “Motion”), state as follows:

        A.      PARTIES’ COMPLIANCE WITH LOCAL RULE 37.2

        1.      After consultation by telephone and good faith attempts to resolve differences, the

parties are unable to reach an accord regarding the discovery issues addressed in this Motion. The

parties’ telephonic consultation occurred on June 6, 2022, at 3:30 p.m. and the following attorneys

attended: Ariel Weissberg, William Factor, and Adam Rome.1 In addition, the parties also engaged

in other discussions and exchanged correspondence regarding the discovery disputes addressed herein

and related matters. (See, e.g., Group Ex. A.)

        2.      The parties’ disputes relate to Defendants’: (i) privilege log; (ii) failure to certify

completion of their production; and (iii) objections to the Bank’s requests. Specifically, Defendants

contend that each request is “overly broad, unduly burdensome, and vague.” Defendants also refer to

a Dropbox Folder named “Emails” (in 46 of their 53 responses) to which no folder actualy exists. (See




1
  William Factor, the attorney for Defendants, Bruce Teitelbaum and CNTRST Debt Recovery was present, but at
the request of Mr. Weissberg, counsel for the Defendants, Mr. Factor did not substantively participate.
    Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 2 of 154 PageID #:496




Exs. B1-B3.)2

        3.       Parties are precluded from dodging discovery with general, boilerplate objections. If

parties have objections to written discovery requests they must support them with specific

explanations. Moreover, Defendants objected to nearly half of the Bank’s production requests “to the

extent [they] seek any documents protected by the attorney-client privilege or work product doctrine.”

See, Ex. B.     Defendants failed to provide any further explanations in their responses.                  Courts

consistently hold parties waive their objections by failing to articulate them with specificity.

        4.       Defendants should have completed their production of all responsive documents.

Parties cannot simply produce documents in dribs and drabs at their leisure, especially when they refuse

to specify what documents are being withheld and why. Defendants have belatedly produced some

documents (primarily documents they know the Bank already have).

        B.       DEFENDANTS’ PRIVILEGE LOG IS INADEQUATE

        5.       Defendants tendered a privilege log to Centrust’s counsel, but the log is inadequate. It

fails to provide even the most rudimentary information regarding the documents being withheld, such

as their authors, recipients, dates, or descriptions sufficient to establish a privilege. See Ex. C. The

log does not even itemize all the documents being withheld. Rather than dealing with the documents

being withheld on an individualized basis, the log repeatedly lumps untold numbers of them together

in categories, even when such documents were exchanged over multiple years. To make matters worse,

even a cursory review of the log reveals Defendants are withholding numerous documents on grounds

that cannot possibly be privileged, such as documents exchanged with Defendants’ adversaries,

documents merely designated as “Settlement,” and even documents designated as “Not Privileged.”

        6.       Defendants must provide a privilege log that satisfies the requirements of Rule

26(b)(5)(A). By failing to provide such a log, Defendants have waived any attorney-client privilege


2
  Defendants May 3, 2022, privilege log is attached hereto as (Ex. C). Defendants’ May 11, 2022, initial responses
to Centrust’s production requests are attached hereto as (Exs. D1-D3).

                                                        2
    Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 3 of 154 PageID #:497




and work-product objections they may have had with respect to responsive documents.3

         7.       Courts have consistently held Rule 26(b)(5)(A) requires the party asserting a privilege

to provide a log that: (a) separately lists each document withheld from discovery on privilege grounds;

and (b) provides sufficient detail for each listed document to permit other parties to assess the claim of

privilege. See, e.g., Murdock v. City of Chicago, 2021 WL 4523206, at *5 (N.D. Ill. Oct. 4, 2021). In

other words, “[a] claim of privilege cannot be a blanket claim but must be made and established on a

document-by-document basis.” Coltec Indus., Inc. v. Am. Motorists Ins. Co., 197 F.R.D. 368, 370–71

(N.D. Ill. 2000). To comply with Rule 26(b)(5)(A), a privilege log must establish each element of each

privilege for each document. See, e.g., id. (holding “[w]e stress that each of these elements must be

established as to each document, as the mere existence of an attorney-client relationship is not

sufficient to cloak all communications with the privilege”). Thus, the log of a party claiming the

attorney-client privilege must establish that – with respect to each document for which the privilege is

asserted – discovery would reveal a confidential communication by a client seeking legal advice from

a professional legal adviser in his capacity as such. Id. A log cannot possibly accomplish this task if

it lumps documents together in general categories; fails to provide the authors, recipients, and dates of

the documents; or otherwise fails to demonstrate the documents reveal confidential communications

by a client seeking legal advice from an attorney. See, e.g., id.; see also Pactiv Corp. v. Multisorb

Techs., Inc, 2012 WL 1831517, at *2 (N.D. Ill. May 18, 2012) (holding “skeletal privilege logs with

cut-and-paste descriptions of documents and cut-and-paste explanations of why documents are

immune from discovery are insufficient to meet the burden of showing privilege”).

         C.       DEFENDANTS’ OBJECTIONS ARE INADEQUATE



3
   In its pertinent part, Rule 26(b)(5)(A) provides: When a party withholds information otherwise discoverable by
claiming that the information is privileged or subject to protection as trial-preparation material, the party must: (i)
expressly make the claim; and (ii) describe the nature of the documents, communications, or tangible things not
produced or disclosed--and do so in a manner that, without revealing information itself privileged or protected, will
enable other parties to assess the claim. Fed. R. Civ. P. 26(b)(5)(A).

                                                          3
   Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 4 of 154 PageID #:498




        8.      Defendants’ objections: (i) are not stated with specificity; (ii) fail to certify completion;

(iii) fail to describe the responsive materials being withheld; (iv) improperly provide boilerplate

objections that they are allegedly “overly broad, unduly burdensome, and vague”; and(v) refer to

documents supposedly produced in a Dropbox folder labeled “Emails”.

        9.      Under Rule 34, a respondent’s production must be “completed no later than the time

for inspection specified in the request or another reasonable time specified in the response.” Fed. R.

Civ. P. 34(b)(2)(B). In its responses, a respondent must “state whether any responsive materials are

being withheld on the basis of [an] objection.” Fed. R. Civ. P. 34(b)(2)(C). In this way, “Rule 34

guarantees that the requesting party will receive, concurrently with the response, all documents

reasonably available.” Novelty, Inc. v. Mountain View Mktg., Inc., 265 F.R.D. 370, 375–76 (S.D. Ind.

2009). “Unilaterally deciding to conduct a cursory initial search to be followed by ‘rolling’ productions

from subsequent, more thorough, searches is not an acceptable option.” Id.; accord Ass'n of Am.

Physicians & Surgeons, Inc. v. Clinton, 837 F. Supp. 454, 457 (D.D.C. 1993) (holding a respondent

cannot “produce dribbles and drabs of information at its convenience”).

                                        DEFENDANTS RESPONSE

        10.     Defendants were asked to provide a response, but have refused to participate in the

joint motion in good faith.

                •       Correspondence from Plaintiff’s counsel to Defendants’ counsel dated June 15,
                        2022, requesting Defendants to participate in the joint motion. See, Ex. E.

                •       Correspondence from Plaintiff’s counsel to Defendants’ counsel dated June 20,
                        2022, again requesting Defendants to participate in the joint motion. See, Ex.
                        F.

                •       Correspondence from Defendants’ counsel to Plaintiff’s counsel dated June 20,
                        2022, informing Plaintiff’s counsel that it would participate and have its
                        response completed by June 22, 2022. See, Ex. G.

                •       Correspondence from Plaintiff’s counsel to Defendants’ counsel dated June 28,
                        2022, indicating to Plaintiff’s counsel its disappointment in Defendants’ lack
                        of cooperation. See, Ex. H.


                                                     4
   Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 5 of 154 PageID #:499




Dated: June 28, 2022
Respectfully submitted,
CENTRUST BANK, N.A.                                DEFENDANTS

/s/ Adam B. Rome                                   _______________________
By: One of its Attorneys                           By: One of their Attorneys



Adam B. Rome (ARDC 62784341)
GREIMAN, ROME & GRIESMEYER, LLC
205 West Randolph St., Ste. 2300
Chicago, Illinois 60606
arome@grglegal.com
Telephone: (312) 428-2750




                                         5
   Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 6 of 154 PageID #:500




                                   CERTIFICATE OF SERVICE

        I hereby certify that on June 28, 2022, I electronically filed the foregoing Putative “Joint”

Discovery Motion Re: Centrust’s Discovery Requests, with the Clerk of the Court via the CM/ECF

System, which will send notification of such filing to those registered to receive electronic notices via

email transmission at the email addresses provided by them including:

             Christopher V. Langone                    Rakesh Khanna
             PO Box 5084                               Ariel Weissberg
             Skokie, IL 60077                          Weissberg & Associates
             LangoneLaw@gmail.com                      564 W. Randolph St., 2nd Floor
                                                       Chicago, IL 60661
                                                       rakesh@weissberglaw.com
                                                       ariel@weissberglaw.com




                                                          /s/ Adam B. Rome
                                                         Adam B. Rome (ARDC 62784341)
                                                         GREIMAN, ROME & GRIESMEYER, LLC
                                                         205 West Randolph St., Ste. 2300
                                                         Chicago, Illinois 60606
                                                         arome@grglegal.com
                                                         Telephone: (312) 428-2750




                                                   6
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 7 of 154 PageID #:501
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 8 of 154 PageID #:502
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 9 of 154 PageID #:503
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 10 of 154 PageID #:504
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 11 of 154 PageID #:505
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 12 of 154 PageID #:506
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 13 of 154 PageID #:507
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 14 of 154 PageID #:508
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 15 of 154 PageID #:509
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 16 of 154 PageID #:510
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 17 of 154 PageID #:511
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 18 of 154 PageID #:512
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 19 of 154 PageID #:513
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 20 of 154 PageID #:514
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 21 of 154 PageID #:515
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 22 of 154 PageID #:516
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 23 of 154 PageID #:517
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 24 of 154 PageID #:518
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 25 of 154 PageID #:519
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 26 of 154 PageID #:520
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 27 of 154 PageID #:521
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 28 of 154 PageID #:522
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 29 of 154 PageID #:523
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 30 of 154 PageID #:524
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 31 of 154 PageID #:525
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 32 of 154 PageID #:526
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 33 of 154 PageID #:527
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 34 of 154 PageID #:528
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 35 of 154 PageID #:529
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 36 of 154 PageID #:530
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 37 of 154 PageID #:531
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 38 of 154 PageID #:532
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 39 of 154 PageID #:533
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 40 of 154 PageID #:534
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 41 of 154 PageID #:535
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 42 of 154 PageID #:536
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 43 of 154 PageID #:537
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 44 of 154 PageID #:538
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 45 of 154 PageID #:539
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 46 of 154 PageID #:540
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 47 of 154 PageID #:541
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 48 of 154 PageID #:542
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 49 of 154 PageID #:543
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 50 of 154 PageID #:544
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 51 of 154 PageID #:545
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 52 of 154 PageID #:546
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 53 of 154 PageID #:547
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 54 of 154 PageID #:548
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 55 of 154 PageID #:549
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 56 of 154 PageID #:550
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 57 of 154 PageID #:551
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 58 of 154 PageID #:552
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 59 of 154 PageID #:553
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 60 of 154 PageID #:554
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 61 of 154 PageID #:555
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 62 of 154 PageID #:556
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 63 of 154 PageID #:557
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 64 of 154 PageID #:558
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 65 of 154 PageID #:559
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 66 of 154 PageID #:560
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 67 of 154 PageID #:561
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 68 of 154 PageID #:562
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 69 of 154 PageID #:563
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 70 of 154 PageID #:564
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 71 of 154 PageID #:565
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 72 of 154 PageID #:566
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 73 of 154 PageID #:567
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 74 of 154 PageID #:568
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 75 of 154 PageID #:569
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 76 of 154 PageID #:570
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 77 of 154 PageID #:571
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 78 of 154 PageID #:572
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 79 of 154 PageID #:573
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 80 of 154 PageID #:574
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 81 of 154 PageID #:575
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 82 of 154 PageID #:576
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 83 of 154 PageID #:577
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 84 of 154 PageID #:578
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 85 of 154 PageID #:579
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 86 of 154 PageID #:580
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 87 of 154 PageID #:581
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 88 of 154 PageID #:582
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 89 of 154 PageID #:583
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 90 of 154 PageID #:584
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 91 of 154 PageID #:585
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 92 of 154 PageID #:586
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 93 of 154 PageID #:587
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 94 of 154 PageID #:588
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 95 of 154 PageID #:589
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 96 of 154 PageID #:590
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 97 of 154 PageID #:591
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 98 of 154 PageID #:592
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 99 of 154 PageID #:593
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 100 of 154 PageID #:594
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 101 of 154 PageID #:595
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 102 of 154 PageID #:596
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 103 of 154 PageID #:597
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 104 of 154 PageID #:598
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 105 of 154 PageID #:599
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 106 of 154 PageID #:600
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 107 of 154 PageID #:601
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 108 of 154 PageID #:602
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 109 of 154 PageID #:603
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 110 of 154 PageID #:604
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 111 of 154 PageID #:605
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 112 of 154 PageID #:606
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 113 of 154 PageID #:607
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 114 of 154 PageID #:608
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 115 of 154 PageID #:609
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 116 of 154 PageID #:610
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 117 of 154 PageID #:611
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 118 of 154 PageID #:612
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 119 of 154 PageID #:613
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 120 of 154 PageID #:614
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 121 of 154 PageID #:615
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 122 of 154 PageID #:616
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 123 of 154 PageID #:617
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 124 of 154 PageID #:618
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 125 of 154 PageID #:619
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 126 of 154 PageID #:620
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 127 of 154 PageID #:621
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 128 of 154 PageID #:622
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 129 of 154 PageID #:623
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 130 of 154 PageID #:624
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 131 of 154 PageID #:625
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 132 of 154 PageID #:626
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 133 of 154 PageID #:627
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 134 of 154 PageID #:628
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 135 of 154 PageID #:629
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 136 of 154 PageID #:630
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 137 of 154 PageID #:631
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 138 of 154 PageID #:632
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 139 of 154 PageID #:633
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 140 of 154 PageID #:634
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 141 of 154 PageID #:635
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 142 of 154 PageID #:636
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 143 of 154 PageID #:637
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 144 of 154 PageID #:638
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 145 of 154 PageID #:639
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 146 of 154 PageID #:640
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 147 of 154 PageID #:641
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 148 of 154 PageID #:642
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 149 of 154 PageID #:643
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 150 of 154 PageID #:644
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 151 of 154 PageID #:645
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 152 of 154 PageID #:646
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 153 of 154 PageID #:647
Case: 1:21-cv-02576 Document #: 41 Filed: 06/28/22 Page 154 of 154 PageID #:648
